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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA



              Case No.       18-80109-cr-Rosenberg/Reinhart
                         -------------------------------
                                       18 U.S.C § 912




  UNITED STATES OF AMERICA,
                                                                         SP
                               Plaintiff,
                                                           May 29, 2018
  vs .

                                                                  West Palm Beach
  JOHN JOSEPH O'GRADY,

                     Defendant.
  ______________________________ /


                                            INFORMATION


         THE UNITED STATES ATTORNEY CHARGES THAT:

         On or about March 21, 2018 , in Palm Beach County, in the Southern District of

  Florida , the defendant,

                                  JOHN JOSEPH O'GRADY,

  did knowingly, willfully and falsely assume and pretend to be an officer and employee

  acting under the authority of the United States, and a department, agency, and officer

  thereof, that is, an officer and employee of the United States Marshals Service (USMS),

  and acted as such, in that the defendant held himself out to be an officer and employee
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  of the USMS to officers of the Boynton Beach Police Department.

        In violation of Title 18, United States Code, Section 912 .




  BE JAMIN G. GREENBERG
  UNITED STATES ATTORNEY




                                              2
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                           UNITED19  Entered
                                  STATES     on FLSD
                                         DISTRICT    Docket 05/29/2018 Page 3 of 6
                                                  COURT
                                            SOUTHERN DISTRICT OF FLORIDA


UNITED STATES OF AMERICA                               CASE NO.
                                                                          18-80109-cr-Rosenberg/Reinhart

vs.
                                                          CERTIFICATE OF TRIAL ATTORNEY*
JOHN JOSEPH O'GRADY,
                                      Defendant.
                                                               Superseding Case Information:
--------------------------------'
Court Division : (Select One)                          New Defendant(s)                         Yes               No
                                                       Number of New Defendants
        Miami               Key West                   Total number of counts
        FTL      --x        WPB               FTP
        I do hereby certify that:
         1.      I have carefu lly conside red the allegations of the indictm ent, the number of defendants , the number
                 of probable witnesses and the legaf complexities of the Indictment/Information attached hereto.

        2.       I am aware that the information supplied on this statement wi ll be relied upon by the Judges of this
                 Court in setting their calendars and scheduling crimina l trials under the mandate of the Speedy
                 Trial Act, Title 28 U.S.C . Section 3161 .

        3.       Interpreter:    (Yes or No)              NO
                 List language and/or dialect
        4.       This case will take          2           days for the parties to try.
        5.       Please check appropriate category and type of offense listed below:

                 (Check only one)                                          {Check onl y one)

        I        0 to 5 days                          X                    Petty
        II       6 to 10 days                                              Minor
        Ill      11 to 20 days                                             Misdem .
        IV       21 to 60 days                                             Felony                       X
        v        61 days and over

        6.       Has this case been previously filed in this District Court? (Yes or No)                          No
        If yes :
        Judge:                                                                                            Case No"'-·- - - - - - - - -
        (Attach copy of dispositive order)
        Has a comp laint been fil ed in this matter?            (Yes or No) Yes
        If yes :                                                                              -----
        Magistrate Case No .                       ___,_1""'8-_,8'""2'-'1_,_1_,
                                                                            -W'-!..!.!M.!....__________________________________
        Related Miscellaneous numbers :
        Defendant(s) in federal custody as of
        Defendant(s) in state custody as of
        Rule 20 from the                                                  District of

                 Is this a potential death penalty case? (Yes or No)                       NO
        7.       Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                 prior to October 14, 2003?      _ _ Yes          _X_ No

        8.       Does this case orig inate from a matter pending in the
                 prior to September 1, 2007?      _ _ Yes




* PenaltyShee~s)attached                                                                                                    REV 4/8/08
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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 PENALTY SHEET


  Defendant's Name:       JOHN JOSEPH O'GRADY
                      --~~~~~~~~~~-----




             18-80109-cr-Rosenberg/Reinhart
  Case No.: --------------------------------


  Counts# 1

  Impersonation of a Deputy United States Marshal
  Title 18, United States Code , Section 912

  Max. Penalty: 0-3 years' imprisonment; maximum fine of $250 ,000 ; 0-1 year term of
  supervised release ; and , a $100.00 special assessment.
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                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA
                                            18-80109-cr-Rosenberg/Reinhart
                               CASE NUMBER: _ _ _ _ _ _ _ _ __

                                         BOND RECOMMENDATION



DEFENDANT: JOHN JOSEPH O'GRADY

                 $150 ,000 Personal Surety Bond on Conditions Previously Set on 5/11/18
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




Last Known Address: _ _ _ _ _ _ _ _ _ __




What Facility:




Agent(s):               DUSM Marshal Keith Lawson
                        (FBI) (SECRET SERVICE) (DEA)             (IRS) (ICE) (OTHER)
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AO 455 (Rev. 01 /09) Waiver of an Indictment



                                       UNITED STATES DISTRlCT COURT
                                                           for the
                                                 Southern District of Florida

                  United States of America                    )
                                  v.                          )       Case No. 18-801 09-cr-Rosenberg/Reinhart
                                                              )
                     John Joseph O'Grady                      )
                             Defendant                        )

                                               WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one year.
I was advised in open coutt of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information .


Date: _ _ _ _ _ _ _ _ __
                                                                                   Defendant's Signature




                                                                            Signature of defendant's attorney




                                                                            Printed name of defendant's attorney




                                                                                   Judge's signature



                                                                     Dave Lee Brannon, U.S. Magistrate Judge
                                                                            Judge's printed name and title
